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         Appendix B – African American vs. Caucasian Employees Analysis
                                  1997-2003
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   Section II: Performance Management Process (PMP)

                          TABLES 2.1 - 2.6: PMP RATINGS
                            Table 2.1 Overall Summary

                                          No. of African
                     Total Employees       Americans           S.D.s
                          51,680              1,822            (9.04)




                                  Table 2.2 By Year

                                          Total African                  % of Total
          Year      Total Employees        Americans           S.D.s      Rated
          1997            7,515                243              (1.82)       56.7
          1998            7,779                283              (2.69)       62.9
          1999            7,882                295              (1.43)       65.6
          2000            8,363                314              (4.30)       69.0
          2001            9,687                325              (5.63)       71.7
          2002           10,454                362              (4.89)       75.7



                              Table 2.3 By Rating System

    Rating System       Total Employees          Total African Americans              S.D.s
        Letter                50,563                        1,732                     (8.96)
       Number                  1,117                           90                     (1.21)




                               Table 2.4 By FLSA status

          FLSA        Total Employees        Total African Americans          S.D.s
         Exempt           40,277                       1,267                   (9.01)
       Non-exempt         11,403                         555                  (2.39)




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                                                       Table 2.5 By Job Group

   Job Group                                                                  Total Employees      Total African Americans         S.D.s
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                                      6,659                      295               (5.41)
__ 11 MANAGEMENT ll                                                                     444                       17               (3.73)
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                               2,184                       51               (3.40)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                                     1973                        57               (3.10)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                                        3,708                      127               (2.78)
02 X OTHER SPECIALISTS (PG 1-10)                                                        984                       35               (2.70)
02 OTHER SPECIALIST (PG 1-10)                                                         1,575                       33               (2.46)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                              788                       15               (2.40)
01 C GENERAL MANAGEMENT (PG 9-15)                                                       502                        8               (2.32)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                                        3216                       207               (2.23)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                                        1,101                       37               (2.23)
05 N3 SKILLED CLERICAL 1-4                                                            1,017                       73               (2.22)
08 N6 LABORERS                                                                          191                       14               (2.11)
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                                 1,101                       25               (2.01)
01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                                     268                        8               (1.86)
06 N4 CRAFTS                                                                            527                       14               (1.74)
05 NV SECRETARIES 2-5                                                                   615                       36               (1.63)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                                          935                       43               (1.42)
05 N1 SKILLED CLERICAL 5-7                                                            2435                       101               (1.26)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                                          308                       14               (1.22)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                           1,275                       12               (1.12)
01 K ACCOUNTING MANAGEMENT (PG 10+)                                                   1313                        25               (1.00)
05 NY ACCOUNTANTS 6-7                                                                   546                       10               (1.00)
01 XX-8595 PAINTING & DECORATING OCC                                                    269                       11               (1.00)
03 NR TECHNICAL SUPPORT                                                                 896                       43               (0.86)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                                          823                       48               (0.66)
03 NT COMPUTER OPERATIONS                                                               304                       42               (0.62)
__ 41 SALES BELOW 10                                                                    228                        3               (0.40)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                                          3,693                       59               (0.17)
07 N5 OPERATIVES                                                                      2,314                      118               (0.08)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                                      1,073                       27                   0.06
05 NU SECRETARIES 6-7                                                                   940                       11                   0.17
05 NZ ACCOUNTANTS 2-5                                                                 1,488                       83                   0.21
09 N7 SERVICE WORKERS                                                                    95                        9                   0.29
01 H MERCHANDISING MANAGEMENT (PG 11+)                                                  805                       19                   0.54
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                                        1,047                       22                   0.63
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                                       1,548                       34                   0.71
01 U SALES MANAGEMENT (PG 11+)                                                        1,331                       21                   0.88
__ 12 MANAGEMENT lll                                                                    81                         2                   2.45
An additional 18 job groups have insufficient data to calculate a number of
                                                                                 Highlighted lines have 50 or more African Americans
    S.D.s.




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                             Table 2.6 By Division

                                   Total No. of       Total No. of African
   Division                        Employees              Americans             S.D.s
      07420-EXCEL BEEF                 2,086                     62              (4.89)
      07515-ADMIN                      4,051                     83              (4.12)
      07115-HORIZMILL                      948                   56              (3.48)
      07500-SSC                            281                   19              (2.96)
      00535-HOHENBERG                      136                   49              (2.70)
      07135-SWEETNRNA                  2,438                    149              (2.69)
      07510-WIRE                           150                   13              (2.58)
      07465-PHOSPHPROD                     949                   61              (2.49)
      00512-CORN MLG                   2,746                    128              (2.32)
      07295-CIS                            732                   85              (2.31)
      07010-AGHORIZUS                  1,514                     24              (2.15)
      07495-NSS                        1,783                     58              (2.05)
      00505-ADMIN                      2,502                     60              (2.03)
      00036-WWJFV                          130                   10              (2.02)
      00533-CIS                            772                   72              (1.82)
      07968-MEAT SOL                   1,092                      8              (1.80)
      00513-OILSEEDS                       739                   35              (1.52)
      07080-WILBUR                         229                    3              (1.38)
      07370-CGLCITRPUR                     194                    8              (1.37)
      07105-ARO                             87                    6              (1.34)
      07430-EXCEL PORK                     703                   13              (1.33)
      07415-EMMPAK                         418                   14              (1.25)
      00073-COFFEE                         104                   20              (1.17)
      07245-HEA/FDTECH                     237                    4              (1.16)
      07120-DSONA                          359                   22              (1.11)
      07475-FERTDISTR                      286                    5              (1.09)
      00516-FOOD SECTR                      94                    6              (1.05)
      00532-FMG                            655                    9              (1.03)
      07480-DEICTECHN                      500                   16              (1.03)
      07110-US PNUTS                        14                    3              (1.00)
      00539-EXCEL                      3,674                     89              (0.95)
      07070-TURKPROD                   1,219                     35              (0.95)
      07440-EXCELCR                        264                   20              (0.62)
      00108-WILBR CHOC                     121                    2              (0.58)
      07220-VIT E                           31                    1              (0.58)
      00518-DRY MLG                        870                   56              (0.54)
      07405-WWCOTTON                       191                   36              (0.46)
      00550-PPD                        1,008                      9              (0.39)
      07025-CAN                        2,172                     33              (0.22)
      00034-FERTILIZER                     902                   43              (0.12)




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                                                    Table 2.6 Cont’d

                                                       Total No. of           Total No. of African
   Division                                            Employees                  Americans                S.D.s
       07325-GOSCNA                                        1,231                          77                   0.07
       07125-DRYCORNING                                        249                         6                   0.17
       00001-NAG                                            1876                          74                   0.22
       00538-NSS                                           1,322                          45                   0.39
       00507-SALT                                          1,365                          56                   0.43
       00106-NAG/AGM                                            82                         3                   0.50
       00503-AN NUTR DV                                    2,271                          21                   0.54
       00523-CSW                                               275                        12                   0.91
       07485-SALT                                          1,238                          62                   1.26
       07060-SUNFRFDS                                          329                         4                   1.41
       00508-SEED                                              675                         2                   1.73
   An additional 57 divisions have insufficient
                                                         Highlighted lines have 50 or more African Americans
   data to calculate a number of S.D.s.




                                    Table 2.7 By Education and Service

  Education Level                 Total Employees                    Total African Americans             S.D.s
      Advance degree                           3,968                               106                    (2.16)
      College                                 20,397                               502                    (4.24)
      Less than college                        3,060                                88                    (1.80)
      None recorded                           24,255                             1,126                    (7.54)
  Service                         Total Employees                    Total African Americans             S.D.s
     1st quartile                          8,716                                    354                   (2.84)
     2nd quartile                         14,291                                    424                   (4.59)
     3rd quartile                         14,103                                    434                   (4.65)
     4th quartile                         14,570                                    610                   (5.59)




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  Section III. Promotions

                             TABLES 3.1 – 3.5: PROMOTIONS

                                Table 3.1 Overall Summary

                                     African           Expected
          Total       Total No.     Americans           African
        Employees     Promoted      Promoted           Americans     Shortfall   S.D.s
         171,563          9,272             328         379.76        (51.76)    (3.43)



                                    Table 3.2 By Year

                                Total      Afr Amer
        Year        Total     Promoted     Promoted    Expected    Difference    S.D.s
      Jun 1997      13,431          533       22         23.36        (1.36)      (0.23)
      Dec 1997      13,718          930       35         40.81        (5.81)      (1.08)
      Jun 1998      13,575          837       31         30.98         0.02        0.00
      Dec 1998      13,352          896       33         34.47        (1.47)      (0.21)
      Jun 1999      13,373          891       33         32.00         1.00        0.11
      Dec 1999      13,677        1,016       24         39.49       (15.49)      (3.07)
      Jun 2000      13,393          989       30         39.52        (9.52)      (1.84)
      Dec 2000      12,877          708       26         28.91        (2.91)      (0.60)
      Jun 2001      12,715          646       19         26.91        (7.91)      (1.88)
      Dec 2001      12,553          558       19         25.65        (6.65)      (1.75)
      Jun 2002      12,978          582       25         30.32        (5.32)      (1.25)
      Dec 2002      12,838          455       19         18.10         0.90        0.13
      Jun 2003      13,083          231       12          9.25         2.75        1.01




                                Table 3.3 By FLSA Status

                                 Total      Afr Amer
          FLSA       Total     Promoted     Promoted    Expected    Difference    S.D.s
         Exempt     109,555        6,645       184        222.19       (38.19)    (3.28)
       Non-exempt    62,008        2,627       144        157.56       (13.56)    (1.37)




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                                                  Table 3.4 By Job Group

                                                                          Total  Afr Amer
   Job Group                                               Total        Promoted Promoted Expected    Difference   S.D.s
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                  3,753       477         5    11.56        (6.56)    (2.12)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                      1,935       181         1      4.54       (3.54)    (2.11)
05 NZ ACCOUNTANTS 2-5                                           6,770       288        10    16.73        (6.73)    (2.01)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)               5,815       479         7    13.66        (6.66)    (1.91)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)             17,594         932        26    35.69        (9.69)    (1.82)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                 3,987       312         6      9.75       (3.75)    (1.56)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                  8,335       645        30    37.81        (7.81)    (1.51)
05 N1 SKILLED CLERICAL 5-7                                      8,510       430        10    15.39        (5.39)    (1.45)
05 NY ACCOUNTANTS 6-7                                           2,104       116         4      5.98       (1.98)    (1.27)
05 N3 SKILLED CLERICAL 1-4                                      4,474       178         6      9.46       (3.46)    (1.21)
01 XX-8595 PAINTING & DECORATING OCC                             671         20         1      2.69       (1.69)    (1.17)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                  1,093       143         3      5.54       (2.54)    (1.11)
03 NR TECHNICAL SUPPORT                                         3,803       203         6      8.88       (2.88)    (1.03)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                  2,510       307        13    15.27        (2.27)    (0.76)
05 NV SECRETARIES 2-5                                           2,429       151         3      4.77       (1.77)    (0.74)
01 K ACCOUNTING MANAGEMENT (PG 10+)                             3,468       187         3      4.76       (1.76)    (0.72)
01 H MERCHANDISING MANAGEMENT (PG 11+)                          2,127       105         2      3.25       (1.25)    (0.65)
09 N7 SERVICE WORKERS                                            295         12         1      1.90       (0.90)    (0.57)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                  2,724       193         5      6.08       (1.08)    (0.30)
06 N4 CRAFTS                                                    5,375       130         9    10.16        (1.16)    (0.29)
07 N5 OPERATIVES                                             17,609         594        42    43.58        (1.58)    (0.20)
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)         5,708       294         8      8.76       (0.76)    (0.12)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                     3,949       248         4      4.68       (0.68)    (0.10)
__ 11 MANAGEMENT ll                                             1,002        29         1      1.39       (0.39)     0.00
__ 12 MANAGEMENT lll                                             221         31         0      0.29       (0.29)     0.00
__ 41 SALES BELOW 10                                             512         71         3      2.95        0.05      0.00
__ 80 {Unknown Job Group}                                        402         19         1      0.58        0.42      0.00
__ 81 LABORERS 2                                                 383         39         3      2.81        0.19      0.00
__ CS {Unknown Job Group}                                        165         16         1      0.50        0.50      0.00
01 A GENERAL MANAGEMENT III (PG 18+)                               65         4         1      0.50        0.50      0.00
01 B GENERAL MANAGEMENT ll (PG 9-17)                             252         11         0      0.09       (0.09)     0.00
02 X OTHER SPECIALISTS (PG 1-10)                                2,652       155         7      7.44       (0.44)     0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                           3,083       147         4      3.44        0.56      0.04
__ 60 CRAFT WORKERS SKILLED                                      544         32         1      0.38        0.63      0.26
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                  9,860       429        16    14.67         1.33      0.27
01 C GENERAL MANAGEMENT (PG 9-15)                               1,303        70         2      1.33        0.67      0.35
05 NU SECRETARIES 6-7                                           3,127       117         2      0.92        1.08      0.64
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                    9,678       374         7      5.19        1.81      0.67
02 OTHER SPECIALIST (PG 1-10)                                   4,839       231         5      3.48        1.52      0.76
01 U SALES MANAGEMENT (PG 11+)                                  3,513       116         3      1.76        1.24      0.95
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                  2,896       124         5      2.93        2.07      1.12
03 NT COMPUTER OPERATIONS                                        909         61        10      7.97        2.03      1.18




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                                                     Table 3.4 Cont’d
                                                                                    Total       Afr Amer
      Job Group                                                        Total      Promoted      Promoted Expected Difference            S.D.s
  08 N6 LABORERS                                                         4,845            208           25      20.59        4.41         1.18
  01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                       2,846            196           13      10.22        2.78         1.20
  __ 82 LABORERS 3                                                         357             47           11        7.45       3.55         1.68
   An additional 14 job groups have insufficient data to calculate a
                                                                               Highlighted lines have 20 or more expected African Americans
   number of S.D.s.




                                            Table 3.5 By Division

                                                         Total             Afr Amer
    Division                             Total         Promoted            Promoted          Expected         Difference       S.D.s
  00513-OILSEEDS                            6,193            299                   8            17.14            (9.14)        (2.57)
  07120-DSONA                               2,776            116                   8            14.19            (6.19)        (2.10)
  00507-SALT                                4,536            224                   3             8.14            (5.14)        (1.87)
  00512-CORN MLG                            9,987          1,026                  39            47.35            (8.35)        (1.43)
  07105-ARO                                   349             14                   0             1.75            (1.75)        (1.16)
  00532-FMG                                 2,204            181                   0             1.78            (1.78)        (1.06)
  00538-NSS                                 5,143            282                   4             6.87            (2.87)        (1.02)
  00535-HOHENBERG                             631             15                   1             2.37            (1.37)        (0.94)
  07440-EXCELCR                               692             43                   1             2.35            (1.35)        (0.93)
  07290-VALUEINV                              315             21                   0             1.00            (1.00)        (0.87)
  00518-DRY MLG                             3,758            263                  14            16.78            (2.78)        (0.78)
  00516-FOOD SECTR                            416             59                   1             2.50            (1.50)        (0.74)
  07135-SWEETNRNA                           7,167            340                  17            19.73            (2.73)        (0.68)
  07515-ADMIN                               9,164            418                   7             9.19            (2.19)        (0.63)
  00539-EXCEL                              10,774            738                  25            27.83            (2.83)        (0.55)
  07968-MEAT SOL                            2,470            138                   1             2.11            (1.11)        (0.52)
  07245-HEA/FDTECH                            637             39                   1             1.78            (0.78)        (0.49)
  00036-WWJFV                                 606             49                   0             0.85            (0.85)        (0.43)
  07025-CAN                                 6,137            198                   1             2.01            (1.01)        (0.42)
  00001-NAG                                13,147            816                  38            40.72            (2.72)        (0.42)
  00505-ADMIN                               9,133            771                  24            25.85            (1.85)        (0.34)
  07010-AGHORIZUS                           7,062            167                   1             1.87            (0.87)        (0.30)
  07500-SSC                                   557             10                   0             0.60            (0.60)        (0.20)
  00531-AFL                                   608             25                   2             2.70            (0.70)        (0.18)
  07325-GOSCNA                              5,196            195                  26            26.88            (0.88)        (0.10)
  07115-HORIZMILL                           2,336            117                   9             9.72            (0.72)        (0.09)
  00523-CSW                                 1,401             52                   2             2.60            (0.60)        (0.08)




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                                                     Table 3.5 Cont’d
                                                         Total            Afr Amer
  Division                                Total        Promoted           Promoted         Expected        Difference          S.D.s
    07220-VIT E                                77                  10              0         0.55            (0.55)            (0.08)
    07405-WWCOTTON                            592                  18              3          3.55            (0.55)           (0.06)
    07070-TURKPROD                          3,803                 178              4          4.54            (0.54)           (0.02)
    00015-WGTG-LA                             169                  24              1         0.67             0.33             0.00
    00034-FERTILIZER                        2,893                 148              5         5.33            (0.33)            0.00
    00047-ROGERS                              148                     8            0         0.25            (0.25)            0.00
    00073-COFFEE                              214                  15              1         1.50            (0.50)            0.00
    00405-PEANUTS                             549                  15              2         1.52             0.48             0.00
    00530-WILLKNIGHT                          716                  36              0         0.18            (0.18)            0.00
    00537-SILENT KNIGHT                       193                     5            1         1.10            (0.10)            0.00
    00546-CGL ENERGY                          574                  46              0         0.40            (0.40)            0.00
    07090-FDPHARMNAM                          326                     5            0         0.25            (0.25)            0.00
    07100-SOYPROTSOL                          313                  19              0         0.05            (0.05)            0.00
    07110-US PNUTS                             83                     2            0         0.50            (0.50)            0.00
    07295-CIS                               1,810                  47              7         6.55             0.45             0.00
    07370-CGLCITRPUR                          557                  34              2         2.00             0.00             0.00
    07415-EMMPAK                            1,296                  51              3         3.26            (0.26)            0.00
    07420-EXCEL BEEF                        3,904                 240              9         9.11            (0.11)            0.00
    07443-TAYLOR BEEF                         172                     1            0         0.10            (0.10)            0.00
    07475-FERTDISTR                           706                  43              0         0.25            (0.25)            0.00
    07495-NSS                               4,658                 169              7         7.41            (0.41)            0.00
    07480-DEICTECHN                         1,274                  52              1         0.49             0.51             0.02
    07485-SALT                              3,288                 128              6         5.39             0.61             0.06
    07963-ALLIANT                             100                     9            1         0.25             0.75             0.58
    00503-AN NUTR DV                        5,943                 208              4         2.52             1.48             0.76
    00533-CIS                               1,647                 115             12         9.95             2.05             0.77
    07465-PHOSPHPROD                        2,487                  99              8         5.83             2.17             0.88
    00511-BIOSCIENCES                         619                  47              1         0.15             0.86             0.99
    00106-NAG/AGM                             347                  24              3         1.67             1.33             1.25
    07430-EXCEL PORK                        1,914                  94              3         1.25             1.75             1.33
    00550-PPD                               4,017                 296              9         4.58             4.42             2.17
   An additional 56 divisions have insufficient data to calculate a       Highlighted lines have 20 or more expected African
   number of S.D.s.                                                                           Americans




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                         Table 3.6 By Education Level and Service

                                     Total    Afr Amer
   Education Level       Total     Promoted   Promoted   Expected   Difference     S.D.s
     Advance degree      10,659        700          27     27.82         (0.82)    (0.09)
     College             59,474      4,717         122    142.14       (20.14)     (2.13)
     Less than college    9,938        464           8     10.59         (2.59)    (0.92)
     None recorded       91,492      3,391         171    199.21       (28.21)     (2.52)
                                     Total    Afr Amer
   Service               Total     Promoted   Promoted   Expected Difference       S.D.s
      1st quartile        41,934     3,423         119    158.36       (39.36)      (4.02)
      2nd quartile        43,437     2,907         108    104.57         3.43        0.38
      3rd quartile        41,976     1,913          72     71.70         0.30        0.00
      4th quartile        44,216     1,029          29     45.13       (16.13)      (2.94)




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        Section IV. Pay Progression

                                TABLES 4.1-4.5: PAY PROGRESSION


                                        Table 4.1 Overall Summary

            Total    Total African Avg Afr Amer Diff Afr Amer v.
          Employees Americans          Pay            Non                           Weighted Diff         S.D.s
              67,105          3,156 $2,254.35       ($320.28)                       ($843,294.45)         (5.91)



                                              Table 4.2 By Year

                             Total
                Total       African          Avg Afr          Diff Afr Amer
      Year    Employees    Americans        Amer Pay             v. Cauc             Weighted Diff              S.D.s
      1997       11,151           548        $1,791.83          ($263.53)             ($118,061.60)            (3.08)
      1998       11,398           542        $2,291.12          ($501.98)             ($228,902.04)            (2.84)
      1999       11,517           536        $2,563.36          ($348.79)             ($159,395.32)            (2.13)
      2000       11,320           525        $2,686.06          ($350.82)             ($154,358.89)            (1.99)
      2001       10,760           489        $2,244.91             $36.35               $14,829.78             (1.13)
      2002       10,959           516        $1,931.51          ($465.58)             ($197,406.39)            (3.29)



                                             Table 4.3 By FLSA

                                 Total
                     Total      African        Avg Afr        Diff Afr Amer
     FLSA          Employees   Americans      Amer Pay           v. Cauc             Weighted Diff                S.D.s
    Exempt            42,367        1,433     $3,202.82         ($331.51)            ($389,189.93)                (2.40)
  Non-exempt          24,738        1,723     $1,491.15         ($311.24)            ($454,104.53)                (5.78)



                                         Table 4.4 By Job Group

                                                                        Total                       Diff Afr
                                                       Total             Afr           Avg Afr      Amer v.         Weighted
  Job Group                                          Employees          Amer          Amer Pay        Cauc            Diff         S.D.s
07 N5 OPERATIVES                                                6,973         663      $1,332.61     ($232.27)     ($145,399.17)   (4.32)
08 N6 LABORERS                                                  1,725         203      $1,277.53     ($566.78)     ($102,020.24)   (3.58)
05 NV SECRETARIES 2-5                                            951          48       $1,154.84     ($846.78)      ($30,484.00)   (2.92)
__ 11 MANAGEMENT ll                                              550          20       $1,550.00    ($1,688.23)     ($30,388.09)   (2.85)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)               2,165          61      $2,543.40     ($805.31)      ($42,681.67)   (2.55)
01 K ACCOUNTING MANAGEMENT (PG 10+)                             1,362         24       $5,963.64    ($2,781.00)     ($61,182.07)   (1.97)




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                                                              Table 4.4 Cont’d
                                                                                  Total                    Diff Afr
                                                                      Total        Afr       Avg Afr       Amer v.       Weighted
   Job Group                                                        Employees     Amer      Amer Pay        Cauc           Diff         S.D.s
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                            1,425        42     $5,291.07    ($1,604.85)   ($44,935.76)   (1.93)
01 H MERCHANDISING MANAGEMENT (PG 11+)                                      842        22     $3,166.67    ($7,409.29)   ($66,683.62)   (1.77)
05 N3 SKILLED CLERICAL 1-4                                                1,745      141      $1,062.18     ($428.44)    ($41,558.80)   (1.74)
09 N7 SERVICE WORKERS                                                       143        18     $2,727.38    ($2,638.14)   ($23,743.24)   (1.65)
05 N1 SKILLED CLERICAL 5-7                                                3,340      126      $1,626.02     ($267.75)    ($31,594.00)   (1.57)
__ 60 CRAFT WORKERS SKILLED                                                 297         1      $208.00     ($4,612.11)    ($4,612.11)   (1.53)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                            3,987      126      $3,264.19     ($278.76)    ($33,729.43)   (1.36)
05 NY ACCOUNTANTS 6-7                                                       849        25     $1,168.94    ($1,025.00)   ($14,349.99)   (1.27)
02 X OTHER SPECIALISTS (PG 1-10)                                          1,010        40     $6,276.92     ($832.44)    ($21,643.33)   (1.24)
01 U SALES MANAGEMENT (PG 11+)                                            1,266        17     $2,785.71    ($1,133.93)   ($15,875.00)   (1.05)
02 O INFORMATION SYS SPECIALISTS LEVEL ll (PG 5-10)                       2,212        57     $4,609.52     ($798.35)    ($33,530.75)   (1.02)
01 B GENERAL MANAGEMENT ll (PG 9-17)                                         93         1     $3,000.00    ($2,500.00)    ($2,500.00)   (1.00)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                          6,697      338      $2,537.99     ($120.29)    ($36,928.32)   (0.99)
03 NR TECHNICAL SUPPORT                                                   1,450        68     $1,762.93     ($541.60)    ($29,246.22)   (0.94)
01 C GENERAL MANAGEMENT (PG 9-15)                                           479         7     $1,666.67     ($231.99)       ($695.98)   (0.92)
__ 41 SALES BELOW 10                                                        216         2     $2,250.00    ($1,430.95)    ($2,861.90)   (0.79)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                              495        16     $4,333.33     ($438.07)     ($5,256.88)   (0.78)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                  688        15     $2,507.14    ($1,745.24)   ($24,433.33)   (0.75)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                           1,504        35     $2,933.33    ($2,638.85)   ($47,499.35)   (0.59)
__ 80 {Unknown Job Group}                                                   214        10     $1,588.44    ($1,057.43)    ($9,516.90)   (0.51)
05 NU SECRETARIES 6-7                                                     1,261        20     $2,339.72      $374.65       $5,619.75    (0.46)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                          1,106        33     $5,600.00      $261.32       $3,919.76    (0.45)
__ 81 LABORERS 2                                                            206         6     $3,914.00      $287.05       $1,148.18    (0.41)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                              964        54     $3,974.07     ($389.61)    ($10,519.50)   (0.31)
01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)                         260         7     $4,400.00    ($1,800.00)    ($9,000.00)   (0.20)
05 NZ ACCOUNTANTS 2-5                                                     2,695      154      $1,462.90      ($44.49)     ($5,338.98)   (0.12)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                              3,621        59     $4,861.52     ($384.27)    ($21,519.06)   (0.06)
__ 30 TECHNICIANS                                                            62         1     $2,400.00      $675.00         $675.00     0.00
01 Q RESEARCH MANAGEMENT (PG 11+)                                           565         8     $6,250.00    ($1,250.00)    ($2,500.00)    0.00
03 NT COMPUTER OPERATIONS                                                   331        53     $2,750.11    ($1,322.90)   ($47,624.31)    0.03
__ 21 GENERAL PROFESSIONALS                                                 198         2     $1,775.00      $132.19         $264.38     0.23
__ 82 LABORERS 3                                                            158        23     $3,325.76     ($252.00)     ($5,039.94)    0.26
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                     1,186        24     $6,714.29      $999.39      $13,991.45     0.41
06 N4 CRAFTS                                                              2,359      162      $1,906.06      $191.59      $22,415.50     0.46
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                               1,258        14     $2,850.00      $509.98       $5,099.75     0.56
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                            1,013        56     $3,159.80      $616.18      $24,647.24     0.72
01 XX-8595 PAINTING & DECORATING OCC                                        187         9     $4,055.56    ($1,439.54)   ($12,955.82)    0.79
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                            3,092      257      $2,125.39       $78.52      $18,058.50     0.91
01 A GENERAL MANAGEMENT III (PG 18+)                                         28         1   $10,000.00    $10,000.00      $10,000.00     1.00
__ 12 MANAGEMENT lll                                                        404        23     $2,075.00      $269.55       $5,930.06     1.04
02 OTHER SPECIALIST (PG 1-10)                                             1,828        35     $3,198.39     ($167.40)     ($4,687.28)    1.06
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                            1,141        28     $6,132.00    $2,698.84      $67,471.05     1.82
An additional 12 job groups have insufficient data to calculate a
                                                                                  Highlighted lines have 50 or more African Americans
number of S.D.s.




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                                  Table 4.4 By Division

                                     Total
                     Total          African     Avg Afr Amer     Diff Afr Amer
Division           Employees       Americans        Pay             v. Cauc      Weighted Diff    S.D.s
00001-NAG               6,052             381     $1,663.97        ($308.44)     ($115,048.63)   (4.13)
00523-CSW                732              102     $1,172.63        ($583.94)      ($49,050.97)   (3.17)
07440-EXCELCR            160               13     $1,850.00       ($1,831.99)     ($14,655.95)   (2.43)
00505-ADMIN             4,403              96     $4,700.56       ($1,495.89)    ($133,133.94)   (2.42)
00507-SALT              2,389              96     $2,556.41        ($436.54)      ($38,851.90)   (2.15)
07115-HORIZMILL          643               50     $1,245.81        ($387.01)      ($16,254.38)   (2.13)
07135-SWEETNRNA         1,909             105     $2,637.95         ($87.36)      ($7,513.16)    (2.05)
00533-CIS                886               97     $3,377.06       ($1,534.34)     ($87,457.38)   (1.91)
07290-VALUEINV               94             3     $3,000.00       ($2,325.00)     ($4,650.00)    (1.63)
00512-CORN MLG          4,930             246     $2,983.64        ($565.08)     ($118,101.55)   (1.60)
00518-DRY MLG           1,890             111     $1,565.79        ($490.15)      ($45,093.68)   (1.59)
07010-AGHORIZUS         1,944              33      $986.72         ($337.97)      ($11,153.08)   (1.49)
00036-WWJFV              356               16     $1,975.75         $40.05          $640.81      (1.48)
07475-FERTDISTR          181                3       $0.00         ($4,500.00)     ($4,500.00)    (1.34)
07370-CGLCITRPUR         147                6     $2,689.67        ($788.11)      ($4,728.67)    (1.25)
00034-FERTILIZER        1,755              87     $3,017.45        ($262.30)      ($19,935.01)   (1.23)
07420-EXCEL BEEF        1,141              52     $1,325.91        ($721.61)      ($31,750.96)   (1.22)
07120-DSONA              496               58     $1,443.64        ($789.26)      ($40,252.29)   (1.15)
07500-SSC                180               14     $1,180.00        ($530.00)      ($5,300.00)    (1.12)
00108-WILBR CHOC         332                6     $1,093.33       ($1,153.21)     ($6,919.28)    (1.09)
07080-WILBUR             184                2     $2,250.00        ($191.67)       ($383.33)     (1.08)
00510-CCI                148               13     $900.00          ($225.00)      ($1,800.00)    (1.00)
00516-FOOD SECTR         182                9     $7,537.49        ($863.52)      ($6,908.12)    (0.98)
07105-ARO                312               40     $1,674.88        ($414.82)      ($15,348.34)   (0.98)
07968-MEAT SOL           752                5     $2,875.00        ($725.00)      ($2,900.00)    (0.95)
07025-CAN               1,462              29     $894.34          ($169.56)      ($4,238.95)    (0.91)
07325-GOSCNA            1,671             195     $1,922.11        ($269.83)      ($46,141.11)   (0.82)
07515-ADMIN             2,685              58     $2,720.47        ($710.61)      ($39,083.77)   (0.81)
07220-VIT E                  67             1     $3,000.00       ($1,214.29)     ($1,214.29)    (0.68)
07510-WIRE               141               30     $714.13          ($175.71)      ($4,744.27)    (0.67)
07485-SALT               813               41     $1,878.42        ($691.22)      ($26,266.29)   (0.63)
07110-US PNUTS               28            12     $552.98          ($506.51)      ($2,026.04)    (0.63)
00513-OILSEEDS          3,087             250     $1,685.95        ($379.46)      ($81,584.32)   (0.53)
00531-AFL                178               15     $2,131.33        ($450.31)      ($5,854.03)    (0.42)
00530-WILLKNIGHT         314                4     $1,444.00         $920.92        $2,762.75     (0.39)
00538-NSS               3,045             120     $2,479.75        ($34.12)       ($3,787.12)    (0.31)
00539-EXCEL             5,471             166     $3,090.18        ($103.09)      ($16,288.01)   (0.23)
00532-FMG                952               13     $5,404.58        ($957.75)      ($11,492.95)   (0.14)




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                                                            Table 4.4 Cont’d
                                                        Total
                                   Total               African                Avg Afr Amer      Diff Afr Amer v.
Division                         Employees            Americans                   Pay                Cauc            Weighted Diff          S.D.s
07405-WWCOTTON                                  145                28           $1,360.77               $12.77             $191.60          (0.13)
07415-EMMPAK                                    276                11           $1,431.42             ($811.53)          ($8,115.31)        (0.07)
07430-EXCEL PORK                                588                11           $3,552.00            $1,067.69          $11,744.55          (0.06)
00047-ROGERS                                     87                15           $3,000.00             ($333.33)          ($1,333.33)        0.00
07480-DEICTECHN                                 341                10           $2,860.80             $697.75            $6,977.45          0.20
07070-TURKPROD                               1,047                 41           $1,673.62             $282.93           $10,185.46          0.30
00106-NAG/AGM                                   183                  6          $6,000.00            $1,500.00           $6,000.00          0.34
00503-AN NUTR DV                             3,265                  53          $1,255.13              ($56.56)          ($2,545.41)        0.40
00535-HOHENBERG                                 370                101          $1,151.77             $382.39           $20,266.75          0.67
07245-HEA/FDTECH                                134                  2          $1,000.00             $500.00              $500.00          0.94
07295-CIS                                       424                 56          $3,305.86             ($629.98)        ($22,049.29)         1.00
00546-CGL ENERGY                                232                  6          $6,250.00            $2,750.00           $2,750.00          1.00
07060-SUNFRFDS                                  243                  4          $4,000.00            $1,000.00           $2,000.00          1.00
07465-PHOSPHPROD                                585                41           $6,305.20            $2,643.49          $79,304.81          1.05
00511-BIOSCIENCES                               198                  3          $6,728.64            $2,446.10           $7,338.31          1.11
00405-PEANUTS                                   265                 72          $1,122.10               $81.97           $2,623.16          1.13
00508-SEED                                      802                  2          $3,000.00            $1,900.00           $1,900.00          1.26
07495-NSS                                    1,129                 39           $2,719.88             $599.67           $19,789.00          1.30
00073-COFFEE                                     96                 20          $1,321.78             $888.45            $7,996.04          1.42
00015-WGTG-LA                                    86                  2          $4,750.00            $1,900.00           $3,800.00          1.73
00550-PPD                                    1,961                 31           $2,768.67            $1,013.93          $28,389.97          1.90
An additional 47 divisions have insufficient data to calculate a
                                                                                      Highlighted lines have 50 or more African Americans
number of S.D.s.




                                       Table 4.6 By Education Level and Service
                                                                                  Diff Afr
                                      Total           Avg Afr Amer                Amer v.
       Education Level              Employees             Pay                      Cauc          Weighted Diff           S.D.s
            Advance degree                4,043           $5,385.29             ($1,688.75)      ($114,835.08)          (2.26)
            College                      23,288           $3,967.53               ($206.23)       ($99,400.56)          (1.14)
            Less than college             4,043           $2,210.73                ($78.50)        ($4,788.58)          (1.52)
            None recorded                35,731           $1,741.99               ($308.74)      ($624,270.23)          (5.52)
                                                                                  Diff Afr
                                                      Avg Afr Amer                Amer v.
       Service                          Total                 Pay                  Cauc          Weighted Diff           S.Ds
            1st quartile                 15,866           $2,860.26               ($658.68)      ($411,016.91)          (4.98)
            2nd quartile                 16,335           $2,365.05               ($517.22)      ($272,057.94)          (3.60)
            3rd quartile                 17,016           $2,168.25               ($191.20)      ($115,290.84)          (2.17)
            4th quartile                 17,888           $1,817.54                ($51.06)       ($44,928.76)          (1.40)




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                               TABLE 5.1-5.7: BONUS, AWARDS and INCENTIVES

                                                   Table 5.1 Overall Summary

                                Total        Avg Afr       Diff Afr Amer
                              Employees     Amer Pay          v. Cauc        Weighted Diff       S.D.s
                                58,782      $3,366.13        ($545.16)      ($1,294,221.30)      (9.24)



                                                       Table 5.2 By Year

                              Total   Avg Afr Amer Diff Afr Amer
                       Year Employees     Pay         v. Cauc    Weighted Diff                       S.D.s
                       1997        7,266           $4,638.07     ($500.53)       ($144,653.58)       (2.06)
                       1998        8,004           $3,075.02     ($437.18)       ($159,571.56)       (3.31)
                       1999        8,897           $2,972.23     ($182.12)       ($67,020.52)        (0.92)
                       2000        8,917           $3,155.74     ($689.02)       ($257,695.23)       (6.07)
                       2001        8,341           $3,122.39     ($661.21)       ($232,745.66)       (5.97)
                       2002        9,111           $3,043.06     ($749.30)       ($274,992.99)       (3.83)
                       2003         8,246          $4,009.66     ($608.27)       ($157,541.76)       (2.02)



                                                       Table 5.3 By FLSA

                                  Total   Avg Afr Amer Diff Afr Amer
                   FLSA         Employees     Pay         v. Cauc                   Weighted Diff             S.D.s
                 Exempt              39,424         $5,789.53     ($1,066.16)      ($1,114,137.36)            (7.27)
               Non-exempt            19,358         $1,460.60        ($135.50)      ($180,083.95)             (5.90)



                                                    Table 5.4 By Job Group

                                                                         Total                    Diff Afr
                                                            Total         Afr       Avg Afr       Amer v.         Weighted
  Job Group                                               Employees      Amer      Amer Pay         Cauc            Diff          S.D.s
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                6,807      339       $3,435.01       ($633.11)    ($196,897.25)    (5.75)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)               2,217       68       $2,551.62    ($1,369.41)      ($79,425.67)    (3.94)
07 N5 OPERATIVES                                                7,629      704       $1,454.33        ($98.59)     ($67,340.36)    (3.42)
05 NZ ACCOUNTANTS 2-5                                           1,370       98       $1,952.57       ($255.39)     ($18,132.68)    (3.27)
02 X OTHER SPECIALISTS (PG 1-10)                                1,081       39      $11,413.90    ($5,324.94)     ($154,423.36)    (3.22)
03 NR TECHNICAL SUPPORT                                         1,133       74       $1,433.03       ($204.23)     ($12,458.32)    (2.87)
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                  1,229       26      $12,242.45    ($4,676.71)      ($93,534.22)    (2.52)




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                                                      Table 5.4 Cont’d
                                                                    Total                     Diff Afr
                                                        Total        Afr          Avg Afr     Amer v.        Weighted
  Job Group                                           Employees     Amer         Amer Pay       Cauc           Diff          S.D.s
08 N6 LABORERS                                              1,941        211       $813.77      ($266.50)     ($50,101.14)    (2.51)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)              4,329        144      $6,958.82     ($987.98)    ($134,365.18)    (2.41)
01 K ACCOUNTING MANAGEMENT (PG 10+)                         1,413        20      $13,684.89    ($7,458.94)   ($134,260.91)    (2.39)
06 N4 CRAFTS                                                2,260        131      $1,619.27     ($163.36)     ($19,440.22)    (2.13)
03 NT COMPUTER OPERATIONS                                    115         27       $1,170.12     ($620.83)      ($6,208.25)    (2.03)
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                       1,322        24      $10,444.35    ($2,048.40)    ($28,677.65)    (1.66)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)               666         44       $2,052.55    ($1,052.57)    ($19,998.77)    (1.59)

09 N7 SERVICE WORKERS                                        114           8       $519.00      ($987.65)      ($1,975.31)    (1.58)

05 NU SECRETARIES 6-7                                        496           9      $1,810.94     ($147.10)        ($588.39)    (1.34)
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)               342         10       $1,356.89     ($144.82)      ($1,158.57)    (1.33)
01 A GENERAL MANAGEMENT III (PG 18+)                          19           1      $3,051.00    ($4,779.00)     ($4,779.00)    (1.22)
__ 80 {Unknown Job Group}                                    107           4       $210.47      ($101.30)        ($303.89)    (1.22)
05 N3 SKILLED CLERICAL 1-4                                  1,030         53      $1,485.39       ($87.58)     ($3,590.86)    (1.06)
02 OTHER SPECIALIST (PG 1-10)                               1,264        22       $5,807.99    ($3,200.08)    ($38,400.97)    (1.06)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)              3,012        216      $3,965.93     ($163.21)     ($32,151.83)    (1.01)
__ 81 LABORERS 2                                              90           2       $100.00      ($200.00)        ($400.00)    (1.00)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                3,186        49       $6,344.72     ($915.13)     ($41,180.86)    (0.97)
__ 11 MANAGEMENT ll                                          642         19      $11,117.05    ($1,719.07)    ($29,224.24)    (0.87)
01 S TRAFFIC, TRANS & LOGISTICS MANAGEMENT (PG 11+)          276           9      $6,625.00    ($2,983.13)    ($11,932.50)    (0.85)
__ 41 SALES BELOW 10                                         262           3      $4,779.07    ($2,362.59)     ($7,087.77)    (0.82)
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)               748         32       $3,142.98    ($1,130.13)    ($15,821.81)    (0.79)
01 U SALES MANAGEMENT (PG 11+)                              1,401        20      $16,450.66       $160.94       $2,575.06     (0.61)
__ 21 GENERAL PROFESSIONALS                                  206           1      $4,100.00    ($1,626.06)     ($1,626.06)    (0.55)
01 H MERCHANDISING MANAGEMENT (PG 11+)                       870         17      $69,656.29   ($13,605.04)    ($95,235.29)    (0.51)
05 NV SECRETARIES 2-5                                        474         38       $2,083.09     ($161.83)      ($4,854.81)    (0.43)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)             948         20      $12,945.99    ($1,995.27)    ($19,952.72)    (0.39)
01 XX-8595 PAINTING & DECORATING OCC                         266         13      $11,778.67     ($172.07)      ($1,548.62)    (0.27)
05 NY ACCOUNTANTS 6-7                                        466         18       $3,830.77     ($476.74)      ($5,244.14)    (0.21)
05 N1 SKILLED CLERICAL 5-7                                  1,985        106      $1,716.13        $48.44       $4,843.61     (0.14)
__ 30 TECHNICIANS                                             55           1      $4,892.00       $222.25         $222.25      0.00
01 B GENERAL MANAGEMENT ll (PG 9-17)                          91           1       $904.58      ($143.92)        ($143.92)     0.00
02 O INFO SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)            1,382        39       $6,499.44       ($83.75)     ($2,428.68)     0.04
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                 1,060        15       $2,145.56     ($841.74)      ($7,575.67)     0.14
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                   579           9      $4,043.88     ($907.22)      ($7,257.75)     0.21
01 C GENERAL MANAGEMENT (PG 9-15)                            536           8     $13,125.00     $2,359.92       $4,719.83      0.55
__ 82 LABORERS 3                                              64           6      $1,221.15       $407.90         $815.79      0.81
01 Q RESEARCH MANAGEMENT (PG 11+)                            605           6     $10,100.00       $100.00         $100.00      1.00




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                                                                Table 5.4 Cont’d
                                                                                   Total                        Diff Afr
                                                                Total               Afr          Avg Afr        Amer v.
   Job Group                                                  Employees            Amer         Amer Pay         Cauc        Weighted Diff          S.D.s
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                             592           24        $2,931.29      $671.52           $11,415.90         1.05
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                           1,226          24        $5,276.87     $1,135.07          $11,350.72         2.13
__ 12 MANAGEMENT lll                                                       299           21        $4,809.10      $973.16           $19,463.13         2.50
An additional 12 job groups have insufficient data to calculate a
                                                                                         Highlighted lines have 50 or more African Americans
number of S.D.s.



                                                          Table 5.5 By Division

                                                          Total
                                         Total                              Avg Afr            Diff Afr Amer
 Division                                                African                                                   Weighted Diff          S.D.s
                                       Employees                           Amer Pay               v. Cauc
                                                        Americans
 07325-GOSCNA                                   1,715               212     $1,620.17             ($578.40)         ($105,268.42)          (4.88)
 00001-NAG                                      4,539               326     $1,352.69             ($236.80)          ($74,829.64)          (4.74)
 07135-SWEETNRNA                                3,132               185     $2,746.39             ($627.04)          ($95,937.16)          (4.43)
 00034-FERTILIZER                               1,660                81     $2,991.79             ($825.93)          ($60,292.71)          (4.15)
 00512-CORN MLG                                 4,683               242     $2,880.91             ($484.09)          ($97,302.19)          (3.61)
 07515-ADMIN                                    2,074               49     $12,598.92            ($2,143.45)         ($85,737.93)          (3.24)
 07968-MEAT SOL                                  909                  7     $4,099.73            ($9,530.77)         ($57,184.62)          (3.06)
 07465-PHOSPHPROD                                935                 66     $3,568.45             ($673.10)          ($33,654.81)          (3.01)
 00518-DRY MLG                                  1,410               75      $1,537.93             ($469.15)          ($29,556.41)          (2.97)
 00538-NSS                                      3,196               128     $5,233.13            ($1,055.99)        ($123,550.27)          (2.65)
 00533-CIS                                       763                 62     $8,766.85             ($483.57)          ($15,957.76)          (2.30)
 07110-US PNUTS                                    24                11     $1,982.57            ($1,168.51)         ($4,674.03)           (2.24)
 07420-EXCEL BEEF                               1,659                68     $6,558.65            ($1,489.38)         ($93,830.79)          (2.14)
 00550-PPD                                      1,636               33      $3,491.91             ($409.81)          ($12,294.22)          (2.09)
 07115-HORIZMILL                                 683                54         $999.29            ($342.54)          ($17,127.17)          (1.95)
 00505-ADMIN                                    1,410               33      $8,991.93            ($2,717.21)         ($76,081.86)          (1.91)
 07010-AGHORIZUS                                2,429               36      $1,603.29             ($641.60)          ($22,455.94)          (1.87)
 00507-SALT                                     1,381                53     $2,674.18             ($389.66)          ($18,703.48)          (1.81)
 07290-VALUEINV                                  146                  5     $2,500.00            ($1,750.00)         ($3,500.00)           (1.63)
 00036-WWJFV                                     161                  7     $3,094.30             ($626.65)          ($4,386.57)           (1.60)
 07440-EXCELCR                                   198                17      $5,198.58            ($1,150.80)         ($8,055.57)           (1.51)
 07080-WILBUR                                      92                 1    $24,187.50            ($2,338.55)         ($2,338.55)           (1.34)
 07500-SSC                                       110                  1     $1,243.56             ($329.88)           ($329.88)            (1.34)
 07510-WIRE                                      113                32      $1,518.81             ($381.68)          ($11,450.40)          (1.24)
 07963-ALLIANT                                     53                 2    $55,000.00           ($15,000.00)         ($15,000.00)          (1.22)
 00405-PEANUTS                                     96                11     $1,740.00             ($248.18)          ($2,481.82)           (1.07)
 07070-TURKPROD                                 1,060               36      $2,750.03             ($169.47)          ($5,762.07)           (0.99)
 07295-CIS                                       367                29      $6,813.04            ($2,454.36)         ($44,178.39)          (0.88)




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                                                                    Table 5.5 Cont’d
                                                      Total
                                   Total               Afr         Avg Afr        Diff Afr Amer          Weighted
Division                         Employees            Amer        Amer Pay           v. Cauc               Diff           S.D.s
07245-HEA/FDTECH                               264         8          $3,438.67         ($1,255.21)         ($8,786.46)        (0.83)
07430-EXCEL PORK                               583         5          $6,828.98          $1,087.34           $5,436.72         (0.80)
00532-FMG                                      909        18         $32,360.48         ($6,431.37)       ($102,901.88)        (0.69)
00530-WILLKNIGHT                               119         2           $352.18               $1.22               $1.22         (0.63)
07485-SALT                                   1,276        65          $1,921.86           ($267.46)        ($16,314.96)        (0.58)
00503-AN NUTR DV                             1,817        21          $1,439.43            $292.79           $4,391.83         (0.53)
00537-SILENT KNIGHT                              93        2           $333.83              ($4.02)             ($4.02)        (0.52)
07370-CGLCITRPUR                                 82        3          $4,972.72           ($916.17)         ($2,748.52)        (0.50)
07475-FERTDISTR                                239         5          $6,440.00         ($1,991.29)         ($3,982.58)        (0.41)
07025-CAN                                    1,017        12           $304.41             ($98.53)           ($886.73)        (0.32)
00531-AFL                                      360        29          $4,774.86              $7.02             $175.60         (0.11)
00539-EXCEL                                  4,228       119          $5,778.56           ($746.77)        ($81,398.06)        (0.10)
00106-NAG/AGM                                    82        3          $9,500.00            $422.02             $844.05         0.00
00108-WILBR CHOC                                 71        1           $825.76               $0.00               $0.00         0.00
07250-MWLYSINE                                 130         2          $2,578.22             $56.79             $113.58         0.00
07105-ARO                                      294        42          $2,053.89           ($739.25)        ($28,091.53)        0.07
07415-EMMPAK                                   305        14          $2,567.62            $143.89           $1,582.77         0.24
00073-COFFEE                                     26        5          $2,900.00            $933.33           $1,866.67         0.24
07480-DEICTECHN                                516        14          $3,050.76             $18.31             $256.31         0.57
07060-SUNFRFDS                                 391         5         $27,828.02         $15,249.69          $45,749.07         0.58
07220-VIT E                                      71        1          $2,939.95            ($34.19)            ($34.19)        0.78
07495-NSS                                    1,749        67          $5,248.95            $575.70          $32,815.08         0.89
00546-CGL ENERGY                               230         5           $742.43              $69.43              $69.43         1.00
07125-DRYCORNING                               120         3          $4,000.00          $2,000.00           $2,000.00         1.00
07300-PETROLEUM                                  33        2          $1,500.00            $500.00             $500.00         1.00
00047-ROGERS                                     36        7          $9,000.00          $1,333.33           $1,333.33         1.00
00523-CSW                                      511        91          $2,217.13            $188.89          $14,544.91         1.36
00511-BIOSCIENCES                              209         2          $3,479.74          $1,292.09           $2,584.17         1.76
00513-OILSEEDS                               2,548       240         $2,244.91            $207.32           $44,988.79          2.47
07120-DSONA                                    799        97         $1,980.82         ($1,004.69)         ($86,403.24)         2.50
As additional 55 divisions have insufficient data to calculate
                                                                         Highlighted lines have 50 or more African Americans
a number of S.D.s.




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                           Table 5.6 By Education Level and Service

                                     Total
                        Total       African      Avg Afr     Diff Afr Amer
Education Level       Employees    Americans    Amer Pay        v. Cauc        Weighted Diff    S.D.s
  Advance degree           4,053          106   $10,084.55      ($5,061.40)     ($278,376.92)   (3.98)
  College                20,663           553    $6,203.59         ($997.13)    ($418,792.76)   (4.21)
  Less than college        3,434          120    $2,796.75      ($1,308.63)      ($79,826.64)   (3.94)
  None recorded          30,632         1,998    $2,535.60         ($281.41)    ($517,224.99)   (7.19)
                                     Total
                        Total       African      Avg Afr     Diff Afr Amer
Service               Employees    Americans    Amer Pay        v. Cauc        Weighted Diff    S.D.s
   1st quartile          12,711           680    $2,161.15         ($648.59)    ($372,290.32)   (3.52)
   2nd quartile          14,713           564    $3,613.53         ($640.48)    ($299,105.93)   (4.88)
   3rd quartile          15,391           638    $3,826.68         ($316.98)    ($175,605.48)   (4.26)
   4th quartile          15,967           895    $3,778.18         ($574.09)    ($447,219.58)   (5.71)




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                             TABLES 6.1 - 6.7: TERMINATIONS

                                   Table 6.1 Overall Summary

                                        African          Expected
            Total        Total        Americans           African
          Employees   Terminated      Terminated         Americans      Difference         S.D.s
           186,481       4,477           297              246.78         (50.22)           (4.55)




                                         Table 6.2 By Year

                                              African      Expected
                  Total         Total       Americans       African
      Year      Employees    Terminated     Terminated     Americans     Difference          S.D.s
    Jun 1997      14,447        174             11            10.75            (0.25)         0.00
    Dec 1997      14,767        447             25            28.01            3.01           0.72
    Jun 1998      14,638        469             43            35.25            (7.75)         (2.22)
    Dec 1998      14,460        308             15            14.98            (0.02)         0.00
    Jun 1999      14,502        311             21            11.76            (9.24)         (3.37)
    Dec 1999      14,848        333             35            24.28           (10.72)         (3.16)
    Jun 2000      14,528        502             27            26.06            (0.94)         (0.13)
    Dec 2000      13,997        305             28            23.49            (4.51)         (1.25)
    Jun 2001      13,840        454             26            22.81            (3.19)         (0.78)
    Dec 2001      13,746        349             14            13.70            (0.30)         0.00
    Jun 2002      14,251        398             30            19.29           (10.71)         (3.37)
    Dec 2002      14,100        299             14            11.16            (2.84)         (0.82)
    Jun 2003      14,357        128             8              5.23            (2.77)         (1.19)



                                       Table 6.2 By FLSA

                                               African         Expected
                 Total         Total         Americans          African
  FLSA         Employees    Terminated       Terminated        Americans           Difference          S.D.s
 Exempt           118,674     2,562             116                   90.04             (25.96)        (3.75)
Non-exempt         67,807     1,915             181                  156.74             (24.26)        (2.78)




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                                                          Table 6.4 By Job Group

                                                                                                       African       Expected
                                                                        Total              Total     Americans        African
   Job Group                                                          Employees         Terminated   Terminated      Americans      Difference     S.D.s
06 N4 CRAFTS                                                                    5,984           97              14           8.14         (5.86)   (3.27)
05 N3 SKILLED CLERICAL 1-4                                                      4,831          231              25          17.89         (7.11)   (2.96)
02 L ACCOUNTING SPECIALISTS - LEVEL ll (PG 5-9)                                 4,386           63               6           2.88         (3.12)   (2.24)
04 W SALES PROFESSIONALS - LEVEL l (PG 1-4)                                     4,156           99               4           1.50         (2.50)   (2.06)
01 H MERCHANDISING MANAGEMENT (PG 11+)                                          2,364           35               3           1.05         (1.95)   (1.77)
__ 12 MANAGEMENT lll                                                             322             2               1           0.07         (0.93)   (1.66)
02 P INFO SYSTEMS SPECIALISTS LEVEL l (PG 1-4)                                  4,094           75               7           4.71         (2.29)   (1.51)
02 G PRODUCTION SPECIALISTS - LEVEL l (PG 1-4)                              10,073             273              24          18.42         (5.58)   (1.49)
02 X OTHER SPECIALISTS (PG 1-10)                                                2,869           46               4           2.33         (1.67)   (1.30)
02 O INFORMATION SYSTEMS SPECIALISTS LEVEL ll (PG 5-10)                         6,152          156               9           6.34         (2.66)   (1.20)
05 NZ ACCOUNTANTS 2-5                                                           7,004          264              31          27.08         (3.92)   (1.20)
01 E PRODUCTION MANAGEMENT - LEVEL l (PG 9-12)                              10,174             141               7           4.48         (2.52)   (1.19)
01 D PRODUCTION MANAGEMENT - LEVEL ll (PG 13+)                                  2,989           38               1           0.13         (0.87)   (1.04)
07 N5 OPERATIVES                                                            19,132             375              39          34.43         (4.57)   (0.85)
02 R DEVELOP & ANALYTICAL RESEARCH SPEC (PG 1-10)                               6,377          124               6           4.48         (1.52)   (0.69)
04 V SALES PROFESSIONALS- LEVEL ll (PG 5-10)                                10,016             337               5           3.45         (1.55)   (0.65)
05 N1 SKILLED CLERICAL 5-7                                                      8,857          258              17          14.47         (2.53)   (0.65)
02 M ACCOUNTING SPECIALISTS - LEVEL l (PG 1-4)                                  2,735           63               5           3.81         (1.19)   (0.63)
03 NR TECHNICAL SUPPORT                                                         4,184          147              11           9.23         (1.77)   (0.59)
02 Z HUMAN RESOURCES SPECIALISTS (PG 1-10)                                      2,202           43               2           1.25         (0.75)   (0.35)
01 I MERCHANDISING MANAGEMENT-LEVEL II (PG 5-10)                                3,025           44               2           1.20         (0.80)   (0.34)
02 F PRODUCTION SPECIALISTIS - LEVEL ll (PG 5-8)                            19,506             395              16          14.65         (1.35)   (0.27)
__ 11 MANAGEMENT ll                                                             1,125            4               1           1.00          0.00     0.00
01 U SALES MANAGEMENT (PG 11+)                                                  3,689           89               1           1.37          0.37     0.00
02 J MERCHANDISING SPECIALIST LEVEL I (PG 1-4)                                  1,149           28               3           3.23          0.23     0.00
02 OTHER SPECIALIST (PG 1-10)                                                   5,064          217               1           1.40          0.40     0.00
05 NU SECRETARIES 6-7                                                           3,245           72               1           0.98         (0.02)    0.00
05 NV SECRETARIES 2-5                                                           2,544          107               5           4.53         (0.47)    0.00
08 N6 LABORERS                                                                  5,326          228              24          23.79         (0.21)    0.00
01 C GENERAL MANAGEMENT (PG 9-15)                                               1,357           22               0           0.46          0.46     0.00
01 K ACCOUNTING MANAGEMENT (PG 10+)                                             3,664           48               0           0.29          0.29     0.00
01 N INFO SYSTEMS MANAGEMENT (PG 11+)                                           3,198           51               0           0.34          0.34     0.00
01 XX-8595 PAINTING & DECORATING OCC                                             700             8               0           0.33          0.33     0.00
05 NY ACCOUNTANTS 6-7                                                           2,183           71              11          12.00          1.00     0.36
03 NT COMPUTER OPERATIONS                                                        969            38               2           2.92          0.92     0.37
01 Q RESEARCH MANAGEMENT (PG 11+)                                               1,632           40               1           1.83          0.83     0.49
02 T TRAFFIC, TRANS & LOGISTICS SPEC (PG 1-10)                                  2,864           95               8          10.05          2.05     1.17
An additional 22 job groups have insufficient data to calculate a number of S.D.s.        Highlighted lines have 20 or more expected African Americans




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                                   Table 6.5 By Division

                                                      African          Expected
                        Total        Total          Americans           African
Division              Employees   Terminated        Terminated         Americans     Difference    S.D.s
07495-NSS                4,825         222               15                 9.74          (5.26)    (2.19)
07420-EXCEL BEEF         5,974          72                6                 2.38          (3.62)    (2.13)
00512-CORN MLG          10,433          64                9                 4.99          (4.01)    (2.00)
00550-PPD                4,352          76                4                 1.54          (2.46)    (1.72)
00001-NAG               13,651         455               39                30.41          (8.59)    (1.71)
07025-CAN                6,470         135                6                 3.16          (2.84)    (1.58)
00513-OILSEEDS           6,899         113               16                11.76          (4.24)    (1.37)
07135-SWEETNRNA          7,579         154               12                 8.20          (3.80)    (1.35)
00538-NSS                5,278          34                5                 2.92          (2.08)    (1.13)
07515-ADMIN              9,710         190                8                 5.30          (2.70)    (1.09)
07440-EXCELCR             751           15                3                 1.73          (1.27)    (1.02)
07105-ARO                 438            7                2                 0.80          (1.20)    (0.96)
07370-CGLCITRPUR          603            9                1                 0.20          (0.80)    (0.75)
07475-FERTDISTR           769           13                1                 0.20          (0.80)    (0.75)
07962-RMFS SS             686            6                1                 0.20          (0.80)    (0.75)
07245-HEA/FDTECH          683           17                4                 2.92          (1.08)    (0.74)
00532-FMG                2,422         186                9                 7.51          (1.49)    (0.71)
07295-CIS                2,064          74               12                10.37          (1.63)    (0.66)
07010-AGHORIZUS          7,297         324                6                 4.52          (1.48)    (0.50)
07415-EMMPAK             1,429          21                2                 1.05          (0.95)    (0.49)
00516-FOOD SECTR          450            2                1                 0.27          (0.73)    (0.49)
07485-SALT               3,454          60                6                 4.83          (1.17)    (0.37)
00108-WILBR CHOC          555            2                1                 0.33          (0.67)    (0.35)
07968-MEAT SOL           2,647          31                1                 0.33          (0.68)    (0.34)
00505-ADMIN              9,682          55                3                 2.15          (0.85)    (0.28)
00531-AFL                 634          229               21                20.16          (0.84)    (0.20)
00518-DRY MLG            4,121          76               12                11.20          (0.80)    (0.16)
00405-PEANUTS             551           47               11                10.42          (0.58)    (0.07)
00523-CSW                1,529          13                3                 2.45          (0.55)    (0.05)
00034-FERTILIZER         3,048          27                1                 1.36          0.36      0.00
00036-WWJFV               682           15                1                 0.64          (0.36)    0.00
00206-CFI                 157            3                1                 0.50          (0.50)    0.00
00507-SALT               4,671         174                9                 9.05          0.05      0.00
00508-SEED               1,968          69                1                 1.20          0.20      0.00
00511-BIOSCIENCES         650            5                    0             0.07          0.07      0.00
00533-CIS                1,867          40                6                 5.82          (0.18)    0.00
00537-SILENT KNIGHT       212          104                2                 2.00          0.00      0.00
00539-EXCEL             13,590         119                5                 4.64          (0.36)    0.00
00546-CGL ENERGY          609           46                1                 1.00          0.00      0.00
07090-FDPHARMNAM          355           12                1                 1.00          0.00      0.00
07115-HORIZMILL          2,649          44                3                 3.00          0.00      0.00




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                                                                               African           Expected
                                   Total                Total                Americans            African
Division                         Employees           Terminated              Terminated          Americans          Difference         S.D.s
07240-SAP                                      8                    5                      1             1.00              0.00       0.00
07265-IOL                                    157                    5                      0             0.50              0.50       0.00
07325-GOSCNA                               5,426                  142                     13           13.25               0.25       0.00
07400-WWCOFFEE                                44                   37                      8             7.50             (0.50)      0.00
07405-WWCOTTON                               630                   16                      6             5.58             (0.42)      0.00
07410-WWRUBBER                                18                    5                      2             2.00              0.00       0.00
07430-EXCEL PORK                           1,995                   22                      2             1.54             (0.46)      0.00
07480-DEICTECHN                            1,286                   14                      0             0.27               0.27      0.00
07500-SSC                                    600                    6                      1             0.60             (0.40)      0.00
07120-DSONA                                3,282                   56                      5             6.35              1.35       0.39
07465-PHOSPHPROD                           2,649                   39                      2             3.02              1.02       0.46
07510-WIRE                                   498                    5                      0             0.94              0.94       0.63
07070-TURKPROD                             4,245                  153                      2             4.15              2.15       1.06
00535-HOHENBERG                              661                   11                      4             5.82              1.82       1.35
00503-AN NUTR DV                           6,095                   95                      0             1.96              1.96       1.43
An additional 58 divisions have insufficient data to calculate a number
                                                                               Highlighted lines have 20 or more expected African Americans
  of S.D.s.




                                            Table 6.6 By Education and Service
                                                                               African          Expected
                                   Total              Total                  Americans           African
   Education Level               Employees         Terminated                Terminated         Americans        Difference        S.D.s
      Advance degree                 12,005                 246                      9                  6.25          (2.75)       (1.81)
      College                        62,673               1,212                     51                 40.43         (10.57)       (2.27)
      Less than college              10,408                 249                     10                 11.11            1.11        0.39
      None recorded                 101,395               2,770                    227                188.99         (38.01)       (3.84)
                                                                               African          Expected
                                   Total              Total                  Americans           African
   Service                       Employees         Terminated                Terminated         Americans        Difference        S.D.s
      1st quartile                    46,046              1,722                    127                106.63         (20.37)       (2.80)
      2nd quartile                    47,460              1,123                     69                 54.93         (14.07)       (2.63)
      3rd quartile                    45,966                960                     55                 47.58          (7.42)       (1.51)
      4th quartile                    47,009                672                     46                 37.64          (8.36)       (1.71)




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